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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

USA,                                         )
                                             )
                    Plaintiff,               )                   8:04CR65
                                             )
             v.                              )
                                             )
AARON LONG,                                  )                    ORDER
                                             )
                    Defendants.              )
                                             )




        Before the court is a Motion to Withdraw and to Appoint Substitute Counsel [69]
filed by Attorney W. Russell Bowie. Mr. Bowie has recently been appoint district judge
for Douglas County, Nebraska. Good cause being shown, the motion will be granted.
Defendant has previously filled out a financial affidavit and the court appointed counsel.
A CJA panel attorney will be appointed to represent the defendant.

       IT IS ORDERED:

       1.    That the Motion to Withdraw and to Appoint Substitute Counsel [69] is
             granted. W. Russell Bowie shall be deemed withdrawn as attorney of
             record and shall forthwith provide new counsel with the discovery
             materials provided the defendant by the government and such other
             materials obtained by Mr. Bowie which are material to the defendant’s
             defense

       2.    A CJA panel attorney will be appointed by further order of the court to
             represent the above named defendant in this matter.

       DATED this 13th day of March, 2006.

                                            BY THE COURT:

                                            s/ F. A. Gossett
                                            United States Magistrate Judge
